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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                SAN ANGELO DryISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                            NO. 6:20-CR-028-01-H

FERNANDO MARTINEZ CABRERA (1),
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF THE IJNITED STATES MAGISTRATE JUDGE
                           CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendafion

conceming Plea of Guilty of the United states Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636OXl), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Datedoctober   {      2o2o




                                            JAME        SLEY HENDRIX
                                                    D STATES DISTRICT JUDGE
